Case 6:22-cv-01525-WWB-DCI Document 64 Filed 06/13/24 Page 1 of 3 PageID 661




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
MARITZA REYES,

                       Plaintiff,

v.                                                            Case No: 6:22-cv-1525-WWB-DCI

FLORIDA A&M UNIVERSITY BOARD
OF TRUSTEES (FAMU),

                       Defendant.


                                             ORDER
       This cause comes before the Court for consideration without oral argument on the

following motion:

       MOTION:         Plaintiff’s Expedited Motion to Compel FAMU President
                       Larry Robinson’s Deposition (Doc. No. 50)

       FILED:          May 29, 2024



       THEREON it is ORDERED that the motion is GRANTED in part.

       By Order dated May 24, 2024, the Court denied Defendant’s Motion for Protective Order

Precluding the Deposition of Dr. Larry Robinson pursuant to the apex doctrine. Doc. 49. Pending

before the Court is Plaintiff’s Expedited Motion to Compel Dr. Robinson’s deposition. Doc. 50

(the Motion). Plaintiff asserts that she has been unable to successfully coordinate Dr. Robinson’s

deposition with Defendant despite the Court’s Order and seeks Court intervention. Id.

       Defendant responds to the Motion and states that it has been unable to obtain a seven-hour

block for the deposition as Plaintiff has demanded and, for the first time, complains that Plaintiff

refuses to conduct the deposition in Tallahassee instead of Orlando as noticed. Doc. 52 (the
Case 6:22-cv-01525-WWB-DCI Document 64 Filed 06/13/24 Page 2 of 3 PageID 662




Response). Defendant states that it objects to an extension of the discovery deadline but, if the

Court determines that Dr. Robinson’s deposition should proceed, requests that the Court allow the

deposition to occur on or before June 17, 2024, and direct that the deposition take place in

Tallahassee or by remote means. Id. at 2-3.

       Plaintiff has since filed a Notice of Additional Conferral and represents that the Motion

“seems to be resolved as to Defendant’s agreement that it must produce President Robinson for

deposition.” Doc. 54. Even so, Plaintiff states that Defendant’s counsel is still working on an

available date for the deposition with the additional condition that the deposition be conducted in

Tallahassee or via remote means. Id. With leave of Court, Plaintiff has also filed a Reply to the

Response and objects to Defendant’s position regarding the location of the deposition. Id. 4.

       Upon due consideration, the Motion is granted to the extent that Plaintiff seeks to take Dr.

Robinson’s deposition in Orlando, Florida. If Defendant desired a limitation or condition on the

location of the deposition, Defendant had the opportunity to make that argument upon the Court’s

consideration of Defendant’s Motion for Protective Order, but Defendant made no such argument.

As such, the request is deemed waived. Nor can Defendant make a request for relief in a response

to a motion. Regardless, Defendant does not state good cause for the request (See Doc. 52) and,

therefore, the deposition will go forward as noticed.

       Accordingly, it is ORDERED that:

       1.      Plaintiff’s Motion (Doc. 50) is GRANTED in part to the extent that Dr. Robinson

               shall appear in person in Orlando, Florida for the deposition at a mutually agreeable

               date and time to be completed on or before June 26, 2024. The remainder of the

               Motion is DENIED; and




                                               -2-
Case 6:22-cv-01525-WWB-DCI Document 64 Filed 06/13/24 Page 3 of 3 PageID 663




       2. The Court finds that payment of reasonable expenses, including attorney fees, incurred

           in making the Motion is not necessary pursuant to Rule 37(a)(5)(C).

       DONE AND ORDERED in Orlando, Florida on June 12, 2024.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                             -3-
